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                              UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF CALIFORNIA

_________________________________________

ROBERT E. STYRE,                                              NO. 1:07-CV-01436-WWS (HC)
                                       Petitioner,
                                                              ORDER GRANTING
       v.                                                     § 2254 PETITION

DERRAL G. ADAMS, Warden
                                       Respondent.

_________________________________________


       State prisoner Robert E. Styre (“Styre” or “Petitioner”) filed a Petition for a Writ of

Habeas Corpus pursuant to 28 U.S.C. § 2254 on September 7, 2007. Styre is serving a sentence

of twenty-seven years to life for his January 1982 conviction for first degree murder in the

Madera County Superior Court. The Petition challenges Governor Schwarzenegger’s July 26,

2005 reversal of the Board of Prison Terms’ (“BPT” or “Board”) determination that Styre was

suitable for parole. After a thorough review of the Petition, Respondent’s Answer, Petitioner’s

Traverse, and all supporting documents, the court finds Petitioner is entitled to the relief

requested and therefore GRANTS the Petition.



I. Background

       In December 1980, Styre visited his son and his son’s mother, Kathy Millus, in San Jose.

He was approached by Richard Mosely, a member of the Hell’s Angels gang. Mosley told him

that John Bronstad (the victim) was a police informant, and threatened to harm Styre’s son if he

did not “take care of” Bronstad. Pet., Ex. C (Psychosocial Assessment, October 26, 2004) at 3.
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       Several days later, on December 14, 1980, the Petitioner told Ms. Millus that Mr.

Bronstad needed to be taken care of that day. Pet., Ex. D (Life Prisoner Evaluation, March 1996)

at 10. After Mr. Bronstad declined Styre’s request to go for a drive, the Petitioner directed Ms.

Millus to call Mr. Bronstad and ask for his help to move a car. Id. He agreed, and Ms. Millus,

the Petitioner, and another acquaintance picked up Mr. Bronstad at his home. Pet., Ex. C at 4.

       Instead of going to move the other car, the group drove up to the mountains on a logging

road. They stopped the car in a secluded area. Pet., Ex. D at 11. Everyone got out of the car to

walk around and smoke some hashish. Id. Styre admits that he had also been using

methamphetamine on the day of the murder and for several days beforehand. Pet., Ex. B (Parole

Hearing Transcript, March 14, 2005) at 14. At some point while the group was walking,

Petitioner called out to the victim, said “goodbye,” and shot him once in the chest. Pet., Ex. D at

11. The Petitioner and the other individuals fled the scene. Id. Mr. Bronstad’s remains were

discovered several months later. Styre was arrested and later convicted of murder.

       Prior to the instant conviction, Petitioner had an extensive juvenile record, including

convictions for auto theft and various drug related offenses. Pet., Ex. D at 12-13. He also has

one additional adult conviction for burglary in 1979. Id. At his March 2005 parole hearing,

Petitioner stated that he came from an abusive home, both of his parents were alcoholics, and that

he turned to drugs at a very young age. Pet., Ex. B at 18-19, 42-43.

       To his credit, Petitioner made tremendous strides while in prison. He received three

citations for non-violent disciplinary infractions early in his prison term, but has remained

discipline free since 1986. Pet., Ex. B at 33. He completed his GED, and gained state

certification in two vocational programs, watch repair and auto body and fender repair. Id. at 34-


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35. Petitioner also participated in a number of therapy and self-help programs, including

Creative Conflict Resolution and a parenting course, and became involved in religious activities.

Pet., Ex. B at 36; Ex. C at 4.

       The psychologists who evaluated Styre have also noted substantial progress. Based on a

2004 evaluation, Dr. Russell Jordan, the senior psychologist at Petitioner’s treatment center,

stated that “the inmate has cemented into his consciousness a completely different lifestyle and is

very committed to acting in a very Christian and moral manner in every aspect of his life.” Pet.,

Ex. C at 4. He noted that the Petitioner has not used drugs since 1984 and showed genuine

remorse and sorrow over his crime. Id. at 2. Dr. Jordan concluded that Petitioner’s risk of

dangerousness was no greater than the average citizen, and that there are no significant risk

factors in this case. Id. at 4-5. He stated that “[i]t is unlikely that this inmate will commit any

further acts of violence; even relapse into substance abuse is a low probability.” Id. at 5.

       The Board took note of Petitioner’s positive evaluations, stating that the record is “replete

with statements by psychologists that indicate you made a tremendous change.” Pet., Ex. B at

56. The board also found that Petitioner had maintained strong family ties with his wife of ten

years, as well as his children, step-children and grandchildren. Id. at 57-58. He had realistic

parole plans, including a place to live and several job offers. Id. The BPT found that he did not

currently pose a substantial danger to society and found him suitable for parole. Id. at 56.

       Pursuant to the authority granted to him under Article 5, Section 8(b) of the California

Constitution, the Governor reversed the BPT’s grant of parole. Pet., Ex. E at 1. In his decision

explaining the reversal, the Governor stated that the Petitioner planned and carried out a heinous

murder, and noted the Petitioner’s extensive pre-commitment criminal record and history of


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substance abuse. Id. at 2-3. He noted that although Petitioner had participated extensively in

prison self-help programs, he had only attended a limited number focused on substance abuse. Id.

at 2.


II. Standard of Review

        Petitioner’s claim is governed by the Antiterrorism and Effective Death Penalty Act of

1996 (“AEDPA”). Under AEDPA, a federal court may only grant the Petition if Styre

demonstrates that the state court decision denying relief was “contrary to or involved an

unreasonable application of clearly established federal law, as determined by the Supreme Court

of the United States; or resulted in a decision that was based on an unreasonable determination of

the facts in light of the evidence presented in the State court proceeding.” 28 U.S.C. §

2254(d)(1).


III. Discussion

        A. Timeliness of Petition

        Respondent contends that the Petition is not timely because once applicable tolling

periods are applied, it was filed one day after the one-year statute of limitations elapsed following

the Governor’s reversal of the BPT’s parole suitability determination.1 Respondent fails to note,

however, that although the Governor’s reversal is dated July 26, 2005, it was not actually mailed

to the Petitioner until August, 11, 2005. Section 2244(d)(1) provides that the one-year limitation

period shall run from the date on which the factual predicate of the claim could have been


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         Under 28 U.S.C. § 2244(d)(2), the one-year statute of limitations is tolled for the time
“during which a properly filed application for State post-conviction or other collateral review
with respect to the pertinent judgment or claim is pending.”

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discovered through the exercise of due diligence. 28 U.S.C. § 2244(d)(1). At the earliest, the

statute of limitations began to run on August 11, 2005, when the Governor’s office took steps to

inform Styre of the reversal. Therefore, the Petition was filed within the one-year limitations

period and is timely.

       B. Reversal of parole suitability finding

       The Supreme Court has held that there is no constitutional right to parole, but a prisoner

can nonetheless have a protected liberty interest if a state statute uses mandatory language such

as shall “to ‘create a presumption that parole release will be granted’ when designated findings

are made.” Bd. of Pardons v. Allen, 482 U.S. 369, 377-78 (1987) (quoting Greenholtz v.

Nebraska Penal Inmates, 442 U.S. 1, 12 (1979)). The Ninth Circuit has held that the California

parole statute creates a protected liberty interest. McQuillion v. Duncan, 306 F.3d 895, 901 (9th

Cir. 2002). Like the Nebraska and Montana statutes evaluated by the Supreme Court, the

California statute uses mandatory language that creates a presumption of release.2 Id.

       Because the Petitioner has a protected liberty interest in parole, the court examines

whether the deprivation of this interest violated due process. See Ky. Dep’t. of Corr. v.

Thompson, 490 U.S. 454, 460 (1989). In the parole context, due process requires that parole

board decisions are supported by “some evidence.” McQuillion, 306 F.3d at 904; Jancsek v.

Oregon Bd. of Parole, 833 F.2d 1389, 1390 (9th Cir. 1987) (adopting the some evidence standard


       2
           California Penal Code § 3041(b) provides in relevant part:

       “The panel or the board, sitting en banc, shall set a release date unless it determines that
       the gravity of the current convicted offense or offenses, or the timing and gravity of
       current or past convicted offense or offenses, is such that consideration of public safety
       requires a more lengthy period of incarceration for this individual and that a parole date,
       therefore, cannot be fixed at this meeting...”

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set forth by the Supreme Court in Superintendent v. Hill, 472 U.S. 445, 456 (1985)).3

       Under California law, the Governor must consider the same factors as the Board when

deciding to reverse a parole suitability determination. See Cal. Const. art. 5, § 8(b); In re

Rosenkrantz, 29 Cal. 4th 616, 664-65, 128 Cal. Rptr. 2d 104, 146-47, 59 P.3d 174, 210 (Cal.

2002). Accordingly, the court reviews the Governor's decision to reverse a parole grant under the

same procedural due process principles used to review challenges to the BPT’s denial of parole.

Miller v. Davis, 521 F.3d 1142, 1146 (9th Cir. 2008).

       The court's analysis of whether the Board's or the Governor's decision is supported by

some evidence is framed by the state statutes and regulations governing parole suitability

determinations. Irons, 505 F.3d at 851. California law mandates that a parole release date be set

unless the panel determines that “public safety requires a more lengthy period of incarceration

....” Cal. Penal Code § 3041(b). The BPT is charged with determining “whether the life prisoner

is suitable for release on parole,” and whether “the prisoner will pose an unreasonable risk of

danger to society if released from prison.” Cal. Code Regs. tit. 15, § 2402(a). In determining

suitability for parole, the Board is directed to consider “all relevant, reliable information,” and is

guided by regulations outlining factors tending to show suitability and unsuitability for parole.

Cal. Code Regs. tit. 15, § 2402(b)-(d).


       3
          Both the Petitioner and Respondent contend that the some evidence standard is not
clearly established federal law as determined by the Supreme Court, and thus is not applicable
under AEDPA. Petitioner claims that a clear and convincing evidentiary standard applies, and
Respondent contends that due process is satisfied if an inmate is given an opportunity to be heard
and advised of the reasons for the parole denial. However, the Ninth Circuit has repeatedly held
that the some evidence standard is clearly established federal law and applies to habeas petitions
for parole denials. See, e.g., Irons v. Carey, 505 F.3d 846, 851 (9th Cir. 2007); Sass v. Cal. Bd.
of Prison Terms, 461 F.3d 1123, 1129 (9th Cir. 2006); Biggs v. Terhune, 334 F.3d 910, 915 (9th
Cir. 2003); McQuillion, 306 F.3d at 904.

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       The California Supreme Court recently clarified the statutory standard applicable to

parole suitability determinations. The court stated that “the paramount consideration for both the

Board and the Governor under the governing statutes is whether the inmate currently poses a

threat to public safety.” In re: Lawrence, 44 Cal. 4th 1181, 1210, 82 Cal. Rptr. 3d 169, 189, 190

P.3d 535, 552 (2008). The court rejected the notion that the existence of one or more

unsuitability factors described in the regulations is necessarily sufficient to support the ultimate

conclusion that the inmate currently poses an unreasonable risk of danger if released. See

Lawrence, 44 Cal. 4th at 1210, 1212, 82 Cal. Rptr. 3d at 189, 190, 190 P.3d at 552, 553. The

Board and the Governor must offer “more than rote recitation of the relevant factors with no

reasoning establishing a rational nexus between those factors and the necessary basis for the

ultimate decision – the determination of current dangerousness.” Id. Accordingly, the court held

that the standard of review is “whether ‘some evidence’ supports the conclusion that the inmate

is unsuitable for parole because he or she currently is dangerous.” Lawrence, 44 Cal. 4th at

1191, 82 Cal. Rptr. 3d at 173, 190 P.3d at 539.

       Reviewing the Governor’s reversal in light of In re: Lawrence, the court finds that the

decision violates Styre’s due process rights because it is not supported by some evidence of

current dangerousness. See Irons, 505 F.3d at 852; Lawrence, 44 Cal. 4th at 1191, 82 Cal. Rptr.

3d at 173, 190 P.3d at 539. The Governor’s denial was based on the gravity of Styre’s offense

and his prior criminal history. These factors, however, are insufficient unless they demonstrate

that the inmate currently poses a threat to public safety. Lawrence, 44 Cal. 4th at 1212, 82 Cal.

Rptr. 3d at 190, 190 P.3d at 553 (“the circumstances of the commitment offense ... establish

unsuitability if, and only if, those circumstances are probative to the determination that a prisoner


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remains a danger to the public.”). There is no evidence in Styre’s record that suggests he would

currently pose a threat to public safety if released. As the BPT noted, Petitioner’s psychological

evaluators observed that Styre has made tremendous life changes and poses no greater risk of

danger to public safety than an average citizen. The psychologist who conducted the most recent

evaluation, Dr. Jordan, stated that “[i]t is unlikely that this inmate will commit any further acts of

violence....”

        The memo explaining the Governor’s reversal also noted Petitioner’s history of substance

abuse, and raised concerns that he had participated in a limited number of substance abuse

programs while in prison. By Petitioner’s own admission, he frequently used drugs prior to his

incarceration, and used hashish and methamphetamine during the commission of the

commitment offense. The record indicates, however, that he has remained drug free for over

twenty years, and does not currently have a substance abuse problem. Dr. Jordan noted that

“currently there are no ongoing problems with drug or alcohol abuse and there are no

recommendations for further treatment....Styre is in remission for all drug and alcohol

problems....[and] relapse into substance abuse is a low probability.” Because Styre’s past

substance abuse does not indicate that he currently poses a threat to public safety, it is

insufficient to support the Governor’s reversal of the Board’s determination that Styre is suitable

for parole. See Lawrence, 44 Cal. 4th at 1191, 1210, 82 Cal. Rptr. 3d at 173,189-90, 190 P.3d at

536, 553.




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IV. Conclusion

      For the reasons stated above, the court GRANTS the Petition for a Writ of Habeas

Corpus.

IT IS SO ORDERED.

DATED: April 9, 2009

                                                   /s/ William W Schwarzer
                                                 Hon. William W Schwarzer
                                                 United States District Judge




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